           Case 18-04074   Doc 8   Filed 11/02/18   Entered 11/02/18 09:15:14   Desc Main Document   Page 1 of 4




                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

IN RE:                                                       §
                                                             §
PAYSON PETROLEUM 3 WELL, L.P.,                               §              Case No. 17-40179
                                                             §              Chapter 7
                                                             §
                                                             §
         DEBTOR.                                             §


JASON R. SEARCY, CHAPTER 7                                   §
TRUSTEE FOR PAYSON                                           §
PETROLEUM, INC.,                                             §
                                                             §
      Plaintiff,                                             §
                                                             §
vs.                                                          §              Adversary No. 18-04074
                                                             §
ACME ENERGY COMPANY, LLC,                                    §
ET AL.,                                                      §
                                                             §
      Defendants.                                            §



   JOINT STIPULATION TO EXTEND TRUSTEE’S DEADLINE TO OBJECT TO
  MOTION OF VARIOUS DEFENDANTS TO DISMISS AND MOTION OF VARIOUS
              DEFENDANTS TO WITHDRAW THE REFERENCE
                      [Relates to Docket Nos. 6 and 7]

         Jason R. Searcy, Chapter 7 Trustee of Payson Petroleum Inc. (the “Trustee”), and the

Defendants listed in Exhibit A attached hereto (the “Movants”), hereby stipulate and agree as

follows:

         1.        On October 24, 2018, the Movants filed their Motion of Various Defendants to

Withdraw the Reference [Docket No. 6] and their Motion of Various Defendants to Dismiss and

Brief in Support [Docket No. 7] (collectively, the “Motions”).




                                                             1
       Case 18-04074   Doc 8   Filed 11/02/18   Entered 11/02/18 09:15:14   Desc Main Document   Page 2 of 4




      2.      The Motions stated that “NO HEARING WILL BE CONDUCTED ON THIS

MOTION UNLESS A WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE

UNITED STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS

PLEADING WITHIN FOURTEEN (14) DAYS FROM THE DATE OF SERVICE SHOWN IN

THE CERTIFICATE OF SERVICE.”

      3.      Fourteen (14) days from the date of service of the Motions is November 7, 2018.

      4.      The Trustee and the Movants agree to extend the Trustee’s objection deadline for

the Motions to November 15, 2018.




                                                         2
         Case 18-04074   Doc 8   Filed 11/02/18   Entered 11/02/18 09:15:14   Desc Main Document   Page 3 of 4




AGREED:

SNOW SPENCE GREEN LLP

By:      /s/ Blake Hamm
       Blake Hamm, SBN 24069869
       blakehamm@snowspencelaw.com
       Aaron M. Guerrero, SBN 24050698
       aaronguerrero@snowspencelaw.com
       Bryan Prentice, SBN 24099787
       bryanprentice@snowspencelaw.com
       2929 Allen Parkway, Suite 2800
       Houston, Texas 77019
       (713) 335-4800
       (713) 335-4848 (Fax)

       ATTORNEYS FOR JASON R. SEARCY,
       CHAPTER 7 TRUSTEE FOR PAYSON PETROLEUM, INC.

MUNSCH HARDT KOPF & HARR P.C.

By:       /s/ Davor Rukavina
      Davor Rukavina, Esq.
      Texas Bar. No. 24030781
      Julian P. Vasek, Esq.
      Texas Bar No. 24070790
      500 N. Akard St., Ste. 3800
      Dallas, TX 75201
      214-855-7500 Tel.
      214-855-7584 Fax
      Email: drukavina@munsch.com
      Email: jvasek@munsch.com

      ATTORNEYS FOR MOVANTS




                                                           3
      Case 18-04074   Doc 8   Filed 11/02/18   Entered 11/02/18 09:15:14   Desc Main Document   Page 4 of 4




                                                 EXHIBIT A
1.    Acme Energy Company, LLC
2.    Gary W. Amerson
3.    Jeffrey D. Carter
4.    Flynt Family Incorporated
5.    Ryan Grossman
6.    Luis Gonzalez
7.    Marc Henn
8.    Thomas J. Hinshaw
9.    Thomas J. Hoppe
10.   KAPAA LLC
11.   Timothy H. Moore
12.   Gerald L. Myer
13.   Thomas Partridge
14.   Lois Partridge
15.   Jay Pond
16.   Rose Sobel Revocable Trust
17.   Kelly Dean Sanders
18.   Janys Schroeder (c/o Stephen Brown)
19.   Raymond A. Smith
20.   Janet S. Smith
21.   Trewitt Living Trust
22.   Wailua LLC
23.   Jimmie R. Walker
24.   Steven Wiesenfeld
25.   Carolyn Wiesenfeld
26.   Wildflower LLC
27.   David J. Zawisha
28.   3 Well MGP, LLC
29.   4 in 1 LLC
30.   Warren V. Bush
31.   Fay L. Bush
32.   Carrie R. Dahmer Revocable Trust
33.   The Kurt & Linda Erickson Estate Trust
34.   Hupakoe, LLC
35.   Michael Niemann
36.   Julie Wakeman
37.   Riverstone Resources, Ltd.
